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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                          WESTERN DIVISION
 ________________________________________________________________
 FUSION ELITE ALL STARS,          )
 et al.,                          )
                                  )
      Plaintiffs,                 )
                                  )
 v.                               )   No. 20-cv-2600-SHL-tmp
                                  )
 VARSITY BRANDS, LLC,             )
 et al.,                          )
                                  )
      Defendants.                 )

 JESSICA JONES, et al.,          )
                                 )
      Plaintiffs,                )
                                 )
 v.                              )   No. 20-cv-2892-SHL-tmp
                                 )
 BAIN CAPITAL PRIVATE EQUITY,    )
 et al.,                         )
                                 )
      Defendants.                )
 ________________________________________________________________

   ORDER GRANTING LEAVE TO SUBMIT AFFIDAVITS REGARDING MOTION TO
                               QUASH
 ________________________________________________________________

       Before the court is defendants’ Motion to Quash or Modify

 Subpoena Directed to Marlene Cota and Motion for Protective Order,

 filed on December 27, 2021. (ECF No. 178.) The motion seeks to

 quash a subpoena issued to Marlene Cota, a former employee of

 Varsity and third party to the present litigation, which seeks

 allegedly     responsive     documents    Cota    possesses.        Plaintiffs

 responded to the motion on January 10, 2022. (ECF No. 180.) The

 circumstances in which Cota acquired the documents at issue are
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 disputed. Given that the facts of how Cota came to possess these

 documents may be relevant to the ultimate issue, the undersigned

 permits the parties until January 21, 2022, to file affidavits to

 clarify   the   record   regarding    how    Cota   came   to   possess   these

 documents.

       IT IS SO ORDERED.



                              s/ Tu M. Pham
                              TU M. PHAM
                              Chief United States Magistrate Judge

                              January 12, 2022
                              Date




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